                    Case 23-12142            Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                              Desc Main
                                                           Document     Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bradlynn Corp. Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Bradlynn Corp
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  271 Bedford Street
                                  Unit 1
                                  Lakeville, MA 02347
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Plymouth                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  156 Rhode Island Road Lakeville, MA 02347
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 23-12142                Doc 1      Filed 12/21/23 Entered 12/21/23 20:27:10                                    Desc Main
                                                              Document     Page 2 of 35
Debtor    Bradlynn Corp. Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 23-12142                   Doc 1         Filed 12/21/23 Entered 12/21/23 20:27:10                                Desc Main
                                                                    Document     Page 3 of 35
Debtor    Bradlynn Corp. Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-12142     Doc 1         Filed 12/21/23 Entered 12/21/23 20:27:10                     Desc Main
                                                      Document     Page 4 of 35
Debtor   Bradlynn Corp. Inc.                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 23-12142            Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                                Desc Main
                                                           Document     Page 5 of 35
Debtor    Bradlynn Corp. Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 21, 2023
                                                  MM / DD / YYYY


                             X /s/ Dean Fawcett, III                                                      Dean Fawcett, III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Peter M. Daigle                                                         Date December 21, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Peter M. Daigle
                                 Printed name

                                 Daigle Law Office
                                 Firm name

                                 1550 Falmouth Road
                                 Suite 10
                                 Centerville, MA 02632
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (508) 771-7444                Email address      pmdaigleesq@yahoo.com

                                 640517 MA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Case 23-12142   Doc 1   Filed 12/21/23 Entered 12/21/23 20:27:10   Desc Main
                          Document     Page 6 of 35
Case 23-12142   Doc 1   Filed 12/21/23 Entered 12/21/23 20:27:10   Desc Main
                          Document     Page 7 of 35
              Case 23-12142               Doc 1        Filed 12/21/23 Entered 12/21/23 20:27:10                            Desc Main
                                                         Document     Page 8 of 35




Fill in this information to identify the case:

Debtor name         Bradlynn Corp. Inc.

United States Bankruptcy Court for the:     DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 21, 2023               X /s/ Dean Fawcett, III
                                                           Signature of individual signing on behalf of debtor

                                                            Dean Fawcett, III
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 23-12142           Doc 1         Filed 12/21/23 Entered 12/21/23 20:27:10                                        Desc Main
                                                            Document     Page 9 of 35

 Fill in this information to identify the case:
 Debtor name Bradlynn Corp. Inc.
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                           Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Air Energy                                          Trade debt                                                                                                  $16,521.03
 6 Norfolk Avenue
 South Easton, MA
 02375
 Credibly of Arizonia,                               Trade debt                                            $110,015.80                        $0.00            $110,015.80
 LLC
 25200 Telegraph
 Road #350
 Southfield, MI 48033
 F.W. Webb Company                                   Trade debt                                                                                                  $77,541.36
 98 Lindbergh Avenue
 Methuen, MA 01844
 First Citizens Federal                              2019 Ram 150CLA                                        $16,370.37                        $0.00              $16,370.37
 Credit Union                                        Pick up; Vehicle ID
 200 Mill Road                                       #***6721
 PO Box 270
 Fairhaven, MA 02719
 Florida Department of                               Claims for recovery                                                                                         $42,500.00
 Financial Services                                  of insurance
 as receiver for United                              payments
 Property & Casult
 11351 Ulmerton
 Road, Suite 314
 Largo, FL 33778
 Headway Capital,                                    Trade Debt                                             $62,923.36                        $0.00              $62,923.36
 LLC
 175 W Jackson Blvd
 Suite 1000
 Chicago, IL 60604
 Metropolitan Pipe                                   Trade debt                                                                                                  $53,798.53
 30 Inner Belt Road
 Somerville, MA 02143
 The NEFCO                                           Trade debt                                                                                                    $7,678.46
 Corporation
 PO Box 1701
 Bridgeport, CT 06601



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 23-12142           Doc 1         Filed 12/21/23 Entered 12/21/23 20:27:10                                        Desc Main
                                                           Document     Page 10 of 35


 Debtor    Bradlynn Corp. Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 The Portland Group                                  Trade debt                                                                                                  $43,725.00
 PO Box 583
 Framingham, MA
 01704
 United Rental (North                                Trade debt                                                                                                    $7,714.07
 America) Inc.
 PO Box 100711
 Atlanta, GA 30384




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                   Case 23-12142                            Doc 1               Filed 12/21/23 Entered 12/21/23 20:27:10                                                           Desc Main
                                                                                 Document     Page 11 of 35
 Fill in this information to identify the case:

 Debtor name            Bradlynn Corp. Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           108,256.62

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           108,256.62


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           194,543.65


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           249,478.45


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             444,022.10




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                 Case 23-12142              Doc 1     Filed 12/21/23 Entered 12/21/23 20:27:10                                 Desc Main
                                                       Document     Page 12 of 35
Fill in this information to identify the case:

Debtor name         Bradlynn Corp. Inc.

United States Bankruptcy Court for the:      DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Bristol County Savings Bank- Business
          3.1.     checking operating account                        Business Checking                     4247                                     $5,970.22



                   Bristol County Savings Bank - Business            Business checking payroll
          3.2.     checking; payroll holding account                 holding                               4239                                     $1,591.20



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $7,561.42
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Rental security held with landlord; 271 Bedford Street, LLC                                                                        $850.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
              Case 23-12142                Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                              Desc Main
                                                        Document     Page 13 of 35
Debtor       Bradlynn Corp. Inc.                                                            Case number (If known)
             Name




9.        Total of Part 2.                                                                                                                $850.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     63,004.00      -                                   0.00 = ....                    $63,004.00
                                       face amount                            doubtful or uncollectible accounts




          11b. Over 90 days old:                         5,821.20      -                                  0.00 =....                       $5,821.20
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                            $68,825.20
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used      Current value of
                                             physical inventory            debtor's interest         for current value          debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Miscellaneous pipe &
          fittings                                                                        $0.00                                            $2,000.00




23.       Total of Part 5.                                                                                                              $2,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 2
              Case 23-12142                Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                             Desc Main
                                                        Document     Page 14 of 35
Debtor       Bradlynn Corp. Inc.                                                            Case number (If known)
             Name


             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used      Current value of
                                                                         debtor's interest          for current value          debtor's interest
                                                                         (Where available)

39.       Office furniture
          Miscellaneous (4) desks, (4) chairs and office
          furniture, (2) filing cabinets                                                  $0.00                                           $1,250.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          (3) Computers, 2 printers and plotter                                           $0.00                                           $1,800.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                $3,050.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used      Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value          debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 3
               Case 23-12142               Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                     Desc Main
                                                        Document     Page 15 of 35
Debtor        Bradlynn Corp. Inc.                                                          Case number (If known)
              Name

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    2017 Ram Promas Van Vehicle ID #
                    ***6482                                                              $0.00                                  $7,145.00


           47.2.    2017 Ram Promas Van Vehicle ID # 9453                                $0.00                                  $7,180.00


           47.3.    2016 Dodge Promaster (160,000 miles)
                    Vehicle ID #8840                                                     $0.00                                  $7,145.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Miscellaneous hand and power tools, cutters, (2)
           pro-press                                                                     $0.00                                  $4,500.00




51.        Total of Part 8.                                                                                                $25,970.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                               page 4
                 Case 23-12142                       Doc 1           Filed 12/21/23 Entered 12/21/23 20:27:10                                         Desc Main
                                                                      Document     Page 16 of 35
Debtor          Bradlynn Corp. Inc.                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $7,561.42

81. Deposits and prepayments. Copy line 9, Part 2.                                                                      $850.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $68,825.20

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $2,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $3,050.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $25,970.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $108,256.62           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $108,256.62




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
                Case 23-12142                    Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                                Desc Main
                                                              Document     Page 17 of 35
Fill in this information to identify the case:

Debtor name         Bradlynn Corp. Inc.

United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Credibly of Arizonia, LLC                    Describe debtor's property that is subject to a lien                 $110,015.80                       $0.00
      Creditor's Name                              Trade debt
      25200 Telegraph Road #350
      Southfield, MI 48033
      Creditor's mailing address                   Describe the lien
                                                   UCC-accounts receivables and all property
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7F80
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      First Citizens Federal Credit
2.2                                                                                                                       $16,370.37                      $0.00
      Union                                        Describe debtor's property that is subject to a lien
      Creditor's Name                              2019 Ram 150CLA Pick up; Vehicle ID #***6721
      200 Mill Road
      PO Box 270
      Fairhaven, MA 02719
      Creditor's mailing address                   Describe the lien
                                                   Co-obligor on auto loan
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7081
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                 Case 23-12142                    Doc 1      Filed 12/21/23 Entered 12/21/23 20:27:10                                   Desc Main
                                                              Document     Page 18 of 35
Debtor       Bradlynn Corp. Inc.                                                                   Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3    Headway Capital, LLC                        Describe debtor's property that is subject to a lien                      $62,923.36                   $0.00
       Creditor's Name                             Trade Debt
       175 W Jackson Blvd Suite
       1000
       Chicago, IL 60604
       Creditor's mailing address                  Describe the lien
                                                   Security agreement; merchant processor -
                                                   processing charges
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.4    Toyota Financial                            Describe debtor's property that is subject to a lien                       $5,234.12              $7,145.00
       Creditor's Name                             2017 Ram Promas Van Vehicle ID # ***6482
       PO Box 5855
       Carol Stream, IL 60197
       Creditor's mailing address                  Describe the lien
                                                   Auto loan
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0416
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $194,543.65

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
             Case 23-12142         Doc 1      Filed 12/21/23 Entered 12/21/23 20:27:10                           Desc Main
                                               Document     Page 19 of 35
Debtor    Bradlynn Corp. Inc.                                                Case number (if known)
          Name

      Name and address                                                               On which line in Part 1 did       Last 4 digits of
                                                                                     you enter the related creditor?   account number for
                                                                                                                       this entity




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3
                Case 23-12142                 Doc 1          Filed 12/21/23 Entered 12/21/23 20:27:10                                             Desc Main
                                                              Document     Page 20 of 35
Fill in this information to identify the case:

Debtor name        Bradlynn Corp. Inc.

United States Bankruptcy Court for the:         DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $16,521.03
          Air Energy                                                           Contingent
          6 Norfolk Avenue                                                     Unliquidated
          South Easton, MA 02375                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $77,541.36
          F.W. Webb Company                                                    Contingent
          98 Lindbergh Avenue                                                  Unliquidated
          Methuen, MA 01844                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $42,500.00
          Florida Department of Financial Services                             Contingent
          as receiver for United Property & Casult                             Unliquidated
          11351 Ulmerton Road, Suite 314                                       Disputed
          Largo, FL 33778
                                                                            Basis for the claim: Claims for recovery of insurance payments
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $53,798.53
          Metropolitan Pipe                                                    Contingent
          30 Inner Belt Road                                                   Unliquidated
          Somerville, MA 02143                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number 1558
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 2
                                                                                                          38937
               Case 23-12142                  Doc 1         Filed 12/21/23 Entered 12/21/23 20:27:10                                             Desc Main
                                                             Document     Page 21 of 35
Debtor       Bradlynn Corp. Inc.                                                                    Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Paula Welch                                                          Contingent
          32 Priscilla Way                                                     Unliquidated
          Date(s) debt was incurred                                            Disputed
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?         No     Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,678.46
          The NEFCO Corporation                                                Contingent
          PO Box 1701                                                          Unliquidated
          Bridgeport, CT 06601                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $43,725.00
          The Portland Group                                                   Contingent
          PO Box 583                                                           Unliquidated
          Framingham, MA 01704                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,714.07
          United Rental (North America) Inc.                                   Contingent
          PO Box 100711                                                        Unliquidated
          Atlanta, GA 30384                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number 2427
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       Newman Associates, LLC
          80 Hudson Road, Suite 200                                                                 Line     3.6
          Canton, MA 02021
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                           0.00
5b. Total claims from Part 2                                                                           5b.    +     $                     249,478.45

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                        249,478.45




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
              Case 23-12142               Doc 1        Filed 12/21/23 Entered 12/21/23 20:27:10                                Desc Main
                                                        Document     Page 22 of 35
Fill in this information to identify the case:

Debtor name       Bradlynn Corp. Inc.

United States Bankruptcy Court for the:     DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Commerical lease on
           lease is for and the nature of        office - 271 Bedford
           the debtor's interest                 Street, Lakeville, MA -
                                                 lease expired month to
                                                 month
               State the term remaining
                                                                                    271 Bedford Street, LLC
           List the contract number of any                                          271 Bedford Street
                 government contract                                                Lakeville, MA 02347


2.2.       State what the contract or            Storage garage; lease
           lease is for and the nature of        expired month to month
           the debtor's interest

               State the term remaining
                                                                                    T. Sikorski Realty, LLC
           List the contract number of any                                          50 Turner Street
                 government contract                                                East Taunton, MA 02718




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
              Case 23-12142               Doc 1      Filed 12/21/23 Entered 12/21/23 20:27:10                             Desc Main
                                                      Document     Page 23 of 35
Fill in this information to identify the case:

Debtor name      Bradlynn Corp. Inc.

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Dean B. Fawcett,            271 Bedford Street                                        First Citizens Federal             D   2.2
          III                         Lakeville, MA 02347                                       Credit Union                       E/F
                                                                                                                                   G




   2.2    Dean Fawcett III            160 Middleboro Road                                       Credibly of Arizonia,              D   2.1
                                      East Freetown, MA 02717                                   LLC                                E/F
                                                                                                                                   G




   2.3    Dean Fawcett, III           61 Harcourt Avenue                                        Headway Capital, LLC               D   2.3
                                      Lakeville, MA 02347                                                                          E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
               Case 23-12142              Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                                Desc Main
                                                       Document     Page 24 of 35



Fill in this information to identify the case:

Debtor name         Bradlynn Corp. Inc.

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $668,922.54
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,106,243.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,149,531.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                 Case 23-12142            Doc 1         Filed 12/21/23 Entered 12/21/23 20:27:10                                  Desc Main
                                                         Document     Page 25 of 35
Debtor       Bradlynn Corp. Inc.                                                                Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Dean Fawcett, III                                    Weekly salary                    $79,215.00           Salary
              61 Harcourt Avenue
              Lakeville, MA 02347
              Principal

      4.2.    Kimberly Fawcett                                     Weekly salary                    $21,600.00           Salary
              61 Harcourt Avenue
              Lakeville, MA 02347
              Principal's wife

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
                 Case 23-12142             Doc 1       Filed 12/21/23 Entered 12/21/23 20:27:10                                   Desc Main
                                                        Document     Page 26 of 35
Debtor        Bradlynn Corp. Inc.                                                                 Case number (if known)



Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Daigle Law Office
                1550 Falmouth Road
                Suite 10
                Centerville, MA 02632                    Attorney Fees                                                 11/23-12/23                $5,000.00

                Email or website address
                pmdaigleesq@yahoo.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
                 Case 23-12142             Doc 1        Filed 12/21/23 Entered 12/21/23 20:27:10                                  Desc Main
                                                         Document     Page 27 of 35
Debtor        Bradlynn Corp. Inc.                                                                Case number (if known)



                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     Eastern Bank                            XXXX-3300                     Checking                 Closed 11/23                               $0.00
                BCK-305                                                               Savings
                PO Box 391
                                                                                      Money Market
                Lynn, MA 01903-0491
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 23-12142             Doc 1        Filed 12/21/23 Entered 12/21/23 20:27:10                                    Desc Main
                                                        Document     Page 28 of 35
Debtor      Bradlynn Corp. Inc.                                                                 Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
               Case 23-12142              Doc 1         Filed 12/21/23 Entered 12/21/23 20:27:10                                Desc Main
                                                         Document     Page 29 of 35
Debtor      Bradlynn Corp. Inc.                                                                 Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Dean Fawcett, III                       160 Middleboro Road                                 President                                 100%
                                              East Freetown, MA 02717



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
               Case 23-12142              Doc 1        Filed 12/21/23 Entered 12/21/23 20:27:10                              Desc Main
                                                        Document     Page 30 of 35
Debtor      Bradlynn Corp. Inc.                                                                 Case number (if known)




           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         December 21, 2023

/s/ Dean Fawcett, III                                           Dean Fawcett, III
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
             Case 23-12142                 Doc 1        Filed 12/21/23 Entered 12/21/23 20:27:10                                      Desc Main
                                                         Document     Page 31 of 35
                                                      United States Bankruptcy Court
                                                                District of Massachusetts
 In re    Bradlynn Corp. Inc.                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date December 21, 2023                                                   Signature /s/ Dean Fawcett, III
                                                                                        Dean Fawcett, III

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
             Case 23-12142            Doc 1      Filed 12/21/23 Entered 12/21/23 20:27:10                           Desc Main
                                                  Document     Page 32 of 35




                                               United States Bankruptcy Court
                                                        District of Massachusetts
 In re   Bradlynn Corp. Inc.                                                                      Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     December 21, 2023                              /s/ Dean Fawcett, III
                                                         Dean Fawcett, III/President
                                                         Signer/Title
    Case 23-12142   Doc 1   Filed 12/21/23 Entered 12/21/23 20:27:10   Desc Main
                             Document     Page 33 of 35


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                      Internal Revenue Service
                      PO Box 7346
                      Philadelphia, PA 19101-7346

                      Massachusetts Department of Revenue
                      Bankruptcy Unit
                      P.O. Box 7090
                      Boston, MA 02204

                      271 Bedford Street, LLC
                      271 Bedford Street
                      Lakeville, MA 02347

                      Air Energy
                      6 Norfolk Avenue
                      South Easton, MA 02375

                      Credibly of Arizonia, LLC
                      25200 Telegraph Road #350
                      Southfield, MI 48033

                      Dean B. Fawcett, III
                      271 Bedford Street
                      Lakeville, MA 02347

                      Dean Fawcett III
                      160 Middleboro Road
                      East Freetown, MA 02717

                      Dean Fawcett, III
                      61 Harcourt Avenue
                      Lakeville, MA 02347

                      F.W. Webb Company
                      98 Lindbergh Avenue
                      Methuen, MA 01844

                      First Citizens Federal Credit Union
                      200 Mill Road
                      PO Box 270
                      Fairhaven, MA 02719

                      Florida Department of Financial Services
                      as receiver for United Property & Casult
                      11351 Ulmerton Road, Suite 314
                      Largo, FL 33778

                      Headway Capital, LLC
                      175 W Jackson Blvd Suite 1000
                      Chicago, IL 60604

                      Metropolitan Pipe
                      30 Inner Belt Road
                      Somerville, MA 02143
Case 23-12142   Doc 1   Filed 12/21/23 Entered 12/21/23 20:27:10   Desc Main
                         Document     Page 34 of 35



                  Newman Associates, LLC
                  80 Hudson Road, Suite 200
                  Canton, MA 02021

                  Paula Welch
                  32 Priscilla Way

                  T. Sikorski Realty, LLC
                  50 Turner Street
                  East Taunton, MA 02718

                  The NEFCO Corporation
                  PO Box 1701
                  Bridgeport, CT 06601

                  The Portland Group
                  PO Box 583
                  Framingham, MA 01704

                  Toyota Financial
                  PO Box 5855
                  Carol Stream, IL 60197

                  United Rental (North America) Inc.
                  PO Box 100711
                  Atlanta, GA 30384
            Case 23-12142        Doc 1    Filed 12/21/23 Entered 12/21/23 20:27:10                  Desc Main
                                           Document     Page 35 of 35



                                         United States Bankruptcy Court
                                               District of Massachusetts
 In re   Bradlynn Corp. Inc.                                                        Case No.
                                                             Debtor(s)              Chapter    11




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Bradlynn Corp. Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




December 21, 2023                              /s/ Peter M. Daigle
Date                                           Peter M. Daigle
                                               Signature of Attorney or Litigant
                                               Counsel for Bradlynn Corp. Inc.
                                               Daigle Law Office
                                               1550 Falmouth Road
                                               Suite 10
                                               Centerville, MA 02632
                                               (508) 771-7444 Fax:(508) 771-8286
                                               pmdaigleesq@yahoo.com
